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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
Vv.

Case No. 21-cr-22-CKK

CHRISTOPHER RAY GRIDER,

Defendant.

 

 

DECLARATION OF RISSA SHAW

Pursuant to 28 U.S.C. § 1746, Rissa Shaw declares:

1. My name is Rissa Shaw. I am over twenty-one (21) years of age and am fully
competent to testify about the matters contained herein. The following statements are made within
my personal knowledge and are true and correct.

a I am a reporter for KWTX-TV, a Waco, Texas-based television station owned and
operated by Gray Media Group, Inc. I live in West, Texas and am the mother of a twenty-month-
old child.

3, I have been a reporter at KWTX-TV since 2016. Prior to joining KWTX-TV, I
served as a reporter at KCEN-TV in Bruceville-Eddy, Texas, and an anchor for KAVU-TV in
Victoria, Texas and KIEM-TV in Eureka, California. I am actively involved in the local Texas
community and frequently host charity fundraisers and speak at local events. I graduated from the
Walter Cronkite School of Journalism and Mass Communication at Arizona State University in
Tempe, Arizona.

4, I have known Defendant Christopher Ray Grider (“Defendant”) and his wife,
Crystal Grider (collectively, “the Griders”), since 2016 when I reported on the opening of their

winery, Kissing Tree Vineyards in Bruceville-Eddy, Texas. During the following years, I
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maintained a friendly relationship with the Griders and considered them a journalistic source when
relevant to my reporting.

5. On January 6, 2021, I attended an editorial meeting about the attack on the U.S.
Capitol and how KWTX-TV could localize the news for our Waco viewers. During the meeting, I
received a call from Defendant who told me he was inside the U.S. Capitol and saw a woman shot
and killed during the riot. He told me he would send me photos and videos he captured from the
Capitol. At that time, my colleagues at KWTX-TV and I believed the presence of a local
businessman inside the Capitol and the death of the woman there were newsworthy events. I thus
prepared a news report for that evening’s newscast based on Defendant’s photographs and videos.
KWTX-TV aired photographs and videos from Defendant during the newscast and published them
online (“Report”). See Rissa Shaw, Central Texas man witnessed deadly shooting as Trump
supporters stormed US Capitol, KWTX-TV, January 6, 2021. Any materials, including
photographs, videos, and communications, received on January 6, 2021 concerning Defendant’s
conduct on that day was obtained from Defendant. I do not have any information about
Defendant’s conduct on January 6, 2021 that is not already in Defendant’s possession or available
publicly.

6. Sometime later in January 2021, Crystal Grider asked me if she could share my
contact information with Defendant’s counsel. I said yes because I believed Defendant’s counsel
could be a source for any future reporting on the events of January 6. Defendant’s counsel
contacted me and asked about the Griders. To foster a source relationship with Defendant’s
counsel, I spoke with him about my friendly relationship the Griders prior to January 6.
Defendant’s counsel then asked if I would testify at Defendant’s Detention Hearing. I was caught

off guard by that question and initially said I was not sure and needed to check with my boss. After
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conferring with KWTX-TV, I told Defendant’s counsel that I could not begin to contemplate the
possibility of testifying on Defendant’s behalf without first being served with a subpoena.
Defendant’s counsel responded by saying that my testimony was unnecessary and that he could
submit a “proffer” without me testifying. At the time, I did not know the meaning of “proffer”—
or what exactly he intended to “proffer’—and believed I did not have a choice to object. I regret
that I did not understand “‘proffering” to mean that Defendant’s attorney would suggest to the Court
that I would be willing to testify. Had Defendant’s attorney made that clear to me, I would have
requested that he not make the proffer about me, as I am not willing to testify.

7. I attended the January 27, 2021 Detention Hearing by Zoom in my capacity as a
reporter. I believed the hearing would provide additional information about January 6 that I could
use in future reporting. During the hearing, Defendant’s counsel “proffered” my testimony. See
Motion to Quash, Exhibit B at 12-16. Jd. I did not speak, I was not asked any questions, and I was
not sworn in at the hearing. Jd.

8. On January 27, 2021, I continued to report on the charges against Defendant
(“Second Report”). See Rissa Shaw,. https://www.kwtx.com/2021/01/28/magistrate-denies-new-
hearing-for-local-businessman-charged-in-us-capitol-riot/ On February 22, 2021, I interviewed
Defendant’s counsel in Waco as a source for the Second Report Central Texas man charged in
US Capitol riot ‘relieved and thankful’ following federal judges' release.

9. On November 20, 2022, Defendant’s counsel asked me if I would testify at
Defendant’s trial. I told him I would only be willing to testify if a subpoena was issued and I was
legally compelled to do so.

10. OnNovember 21, 2022, I received an email containing the subpoena at issue in this

case. See Motion to Quash, Exhibit A. I told KWTX-TV I did not want to testify. Among other
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reasons, I did not want to set a dangerous precedent for myself and other journalists. After 13 years
as a reporter, I understand the critical and sensitive nature of trust between reporters and sources.
If sources believe I will share information obtained through newsgathering with courts, they will
not trust me with sensitive information. By testifying in any capacity, sources would view me as
an arm of the judiciary, the government, or criminal defendants when I am, in fact, an independent
journalist. This would prevent me from effectively doing my job of sharing information of public
concem with the community. In turn, the public would be deprived of important newsworthy
information. I further do not want to testify because doing so would not only jeopardize my
editorial independence but also the independence of my colleagues at KWTX-TV and all fellow
reporters in the industry.

I hereby declare under penalty of perjury under the laws of the United States of America
that the above is true and correct.

Executed this 5th day of December, 2022.

/s/ Rissa Shaw
Rissa Shaw
